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                    BEFORE THE UNITED STATES JUDICIAL PANEL
                         ON MULTIDISTRICT LITIGATION




 IN RE: REAL ESTATE COMMISSION                            MDL No. 3100
 ANTITRUST LITIGATION




  JOINDER IN RESPONSE IN SUPPORT OF TRANSFER OF ACTIONS TO THE
 NORTHERN DISTRICT OF ILLINOIS FOR COORDINATED OR CONSOLIDATED
        PRETRIAL PROCEEDINGS PURSUANT TO 28 U.S.C. § 1407


       For the reasons set forth in Defendant National Association of Realtors’s Response in

Support of Transfer of Actions to The Northern District of Illinois for Coordinated or

Consolidated Pretrial Proceedings (Dkt. 196), Defendants Weichert, Realtors, Realty ONE

Group, Inc., HomeSmart International, LLC, HomeSmart Holdings, Inc., PalmerHouse

Properties, LLC, and Solid Source Realty, Inc. respectfully submit that all related actions (see

196-1) should be transferred to the United States District Court for the Northern District of

Illinois, or, in the alternative, the Eastern District of Texas, for coordinated and/or consolidated

pretrial proceedings pursuant to 28 U.S.C. § 1407.




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Dated: January 26, 2024                Respectfully submitted,


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